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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 MELODY JOY CANTU and                           §
 DR. RODRIGO CANTU,                             §
 Plaintiffs                                     §
                                                §
                                                § CASE NO 5:20-CV-00746-JKP (HJB)
                                                §
 V.                                             §
                                                §
 DR. SANDRA GUERRA and                          §
 DIGITAL FORENSICS                              §
 CORPORATION, LLC                               §
 Defendants                                     §

ORDER GRANTING DEFENDANT, DR. SANDRA GUERRA’S MOTION TO COMPEL
    PLAINTIFFS’ RESPONSES TO WRITTEN REQUESTS FOR DISCOVERY
   REGARDING PLAINTIFFS’ DAMAGES AND REQUEST FOR SANCTIONS

       On this date came on to be considered Defendant, Dr. Sandra Guerra’s Motion to Compel

Plaintiffs’ Responses to Written Requests for Discovery Regarding Plaintiffs’ Damages and

Request for Sanctions [Doc. ____] (the “Motion”). Upon due consideration of the Motion, the

Court finds that the Motion should be GRANTED in its entirety.

       IT IS THEREFORE ORDERED that Defendant, Dr. Sandra Guerra’s Motion to Compel

Plaintiffs’ Responses to Written Requests for Discovery Regarding Plaintiffs’ Damages and

Request for Sanctions is GRANTED in all respects.

       IT IS FURTHER ORDERED that Plaintiffs, Melody Joy Cantu and Dr. Rodrigo Cantu,

shall serve their signed, sworn responses, without objection, to Dr. Guerra’s First Set of

Interrogatories dated August 15, 2022 within seven (7) days of the date hereof.




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          IT IS FURTHER ORDERED that Plaintiff, Melody Joy Cantu, shall serve her responses,

without objection, to Dr. Guerra’s Third Request for Production dated August 15, 2022 within

seven (7) days of the date hereof.

          IT IS FURTHER ORDERED that Plaintiff, Dr. Rodrigo Cantu, shall serve her responses,

without objection, to Dr. Guerra’s Second Request for Production dated August 15, 2022 within

seven (7) days of the date hereof.

          Pursuant to Fed. Rule. Civ. P. 26(g) [or, alternatively, Rule 37(a)(5)(A)], IT IS FURTHER

ORDERED that Plaintiffs shall pay Defendant, Dr. Sandra Guerra, $____________ for the

reasonable attorneys’ fees incurred by Defendant, Dr. Guerra, as a result of Plaintiffs’ failure to

comply with the Federal Rule of Civil Procedure concerning discovery and shall tender such

amount to Defendant, Dr. Sandra Guerra’s counsel of record within fourteen (14) days of the date

hereof.

          Pursuant to Fed. Rule. Civ. P. 26(g) [or, alternatively, Rule 37(a)(5)(A)],, IT IS

FURTHER ORDERED that Plaintiffs’ counsel shall pay Defendant, Dr. Sandra Guerra,

$____________ for the reasonable attorneys’ fees incurred by Defendant, Dr. Guerra, as a result

of Plaintiffs’ failure to comply with the Federal Rule of Civil Procedure concerning discovery and

shall tender such amount to Defendant, Dr. Sandra Guerra’s counsel of record within fourteen (14)

days of the date hereof.

          It is so ORDERED.




Dated: ____________________                    __________________________________________
                                               UNITED STATES DISTRICT JUDGE




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